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                                                                Monday, 24 July, 2017 02:15:45 PM
                                                                    Clerk, U.S. District Court, ILCD

                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF ILLINOIS
                                SPRINGFIELD DIVISION

APRIL R. BRASHER, RICHARD M.                   )
ORENCIA, CHAD O. LEBOW, individually           )
and on behalf of all persons similarly situated as
                                               )
collective representative under and/or as      )     Case No. 17 CV 3022
members of the Collective as permitted under the
                                               )
Fair Labor Standards Act,                      )
                                               )
               Plaintiffs,                     )     Judge: Sue E. Myerscough
                                               )
v.                                             )
                                               )
QUINCY PROPERTY, LLC, doing business as        )     Magistrate Judge: Tom Schanzle-
“Welcome Inn,” and WELCOME INN HOTEL           )     Haskins
MANAGEMENT, INC., and VANDIVER                 )
MOTEL, doing business as Welcome Inn           )
Columbia, WELCOME INN COLUMBIA,                )
Jefferson Property, doing business as Extended )
Stay by Welcome Inn County Line Properties I   )
LLC., doing business as Welcome Inn,           )
AMERICAN MOTELS LLC, doing business as )
Welcome Inn, B & W INVESTMENT                  )
PROPERTIES LLC, doing business as Holiday      )
Apartments, Springfield Welcome Inn, and       )
BRETT BURGE, KENNETH LOGAN,                    )
QUENTIN KEARNEY, JOE WIMBERLY, as              )
individuals under FLSA and Illinois Wage Laws, )
                                               )
               Defendants.                     )


DEFENDANT AMERICAN MOTELS, LLC'S MEMORANDUM IN SUPPORT OF FRCP
 12(B)(2) MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION; FRCP
  12(B)(3) MOTION TO DISMISS FOR IMPROPER VENUE; AND ALTERNATIVE
MOTION TO TRANSFER VENUE UNDER 28 U.S.C. 1404(A), FRCP 12(B)(6) MOTION
TO DISMISS FOR FAILURE TO STATE A CLAIM; AND FRCP 12(E) MOTION FOR A
                       MORE DEFINITE STATEMENT

       Now Comes Defendant American Motels, LLC, by and through its undersigned counsel

from Hinshaw & Culbertson LLP, and in support of their above referenced combined and

alternative motions, states as follows:




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I.     The Conclusory Allegations Pled in the Second Amended Complaint (“SAC”) Are
       Insufficient to Establish a Cause of Action Against American Motels, LLC

       A fair reading of the SAC reveals that Plaintiffs’ minimal allegations against American

Motels, LLC fail to establish it as a business or enterprise doing business in Illinois or employing

Illinois residents. In addition, the SAC does not identify the tasks associated with Plaintiffs’ job

duties during any specific time spans so as to arguably be covered by federal and Illinois wage

and hour laws. Furthermore, the SAC does not even trace a minimally amount of interactions

between American Motels, LLC, and any of the Plaintiffs sufficient to support both the pled

federal and state wage and hour claims or their retaliation claims.

       The absence of such core facts is not addressed by the many unsupported conclusions

pled throughout the SAC. For example, Plaintiffs do not provide any details to sustain the pled

conclusions that American Motels, LLC does business as Welcome Inn and is a joint employer

with the other defendants, one of which is Quincy Property, LLC, that is described as operating a

motel in Quincy, Illinois. (ECF #16, ¶¶ 42, 44, 52, 56-59). No publicly recorded documents in

Illinois, or payments by American Motels LLC to any Illinois residents, are attached or cited.

Furthermore, Plaintiffs do not provide details that suggest that either the facilities where they

worked or their job tasks qualify as an “instrumentality of interstate commerce” in order to

obtain standing under the Fair Labor Standards Act (“FLSA”). (ECF #16, ¶43). In similar

fashion, no specific documents, events, people, or transactions appear in the SAC that bear any

connection to American Motels, LLC so as to arguably support the conclusory allegations that

American Motels, LLC jointly employed Plaintiffs. (ECF #16, ¶¶45-48, 53-55, 59-60, 62, 64-

67).

       The Court may take judicial notice that American Motels LLC does not have any filing

under its name on the web site of the Illinois Secretary of State, (Ex. 1). The absence of such an


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actual filing permits the Court to disregard Plaintiffs’ generalized statement that all the

Defendants have “listings” on the Illinois Secretary of State website. (ECF #16, ¶69).

       The job duty and work hour allegations by Plaintiffs fare no better. Brasher claims that

as a housekeeper she had unspecified and varying work hours, allegedly exceeding 40 hours per

week. (ECF #16, ¶¶70-80, 85, 87-89, 98, 100-103). In addition to the absence of specifically

alleged work hours that qualify for overtime, Brasher does not identify any payment of wages to

her by American Motels, LLC. Such omissions impact the viability of the FLSA and Illinois

wage and hour claims against American Motels, LLC pled in Counts I and II. For example,

Brasher does not specify any interaction that she had with American Motels, LLC throughout the

entire course of her pled employment, or state facts that show how her job duties or the facility

where she worked qualifies for FLSA coverage. The same absence of pled facts diminishes

Brasher’s federal and state wage retaliation law claims that never refer to any actual exchange or

interaction with American Motels, LLC. (ECF #16, ¶¶195-241, 253-255).

       Plaintiff Orencia fares no better and also falls short in identifying what overtime hours he

claimed to have worked. (ECF #16, ¶¶142, 144-145, 147-149). Plaintiff Orencia fails to plead

details about his the job duties in housekeeping, maintenance, and as an occasional desk clerk,

that plausibly suggest that his employment qualifies for FLSA coverage, (ECF #16, ¶¶122-126,

128-129, 136-137). There are absolutely no pled payments, assignments, workplace policies, or

communications that Orencia received from American Motels, LLC that plausibly can support

the pled legal theories of joint employment and wage and hour law violations.

       The third Plaintiff, Lebow, a Missouri resident, never identifies his job title or the

workplace assignments, workplace policies, or communications he received from American

Motels, LLC.     (ECF #16, ¶¶159-165).       The absence of such commonly pled workplace



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allegations undermines Lebow’s pled conclusions that his employment by American Motels,

LLC is covered by the FLSA and the Illinois Minimum Wage Law (“IMWL”). (ECF #16,

¶165). Lebow also fails to supply any facts to support his pled theories of joint employment,

(ECF #16, ¶¶45-48, 53-54, 64); nor does he connect his retaliation claim to American Motels,

LLC. (ECF #16, ¶¶258-265). Finally, the allegations that directly state or imply that Plaintiff

Lebow received checks or IRS Form W-2s from American Motels, LLC, doing business as

Welcome Inn, are contradicted by his exhibits that do not identify American Motels, LLC as

doing business as Welcome Inn. (ECF # 16, at 14, 54.g., compare with Complaint Ex. 7 at pp.

67-68). No reference to any d/b/a entity of American Motels, LLC appears in the referenced pay

documents. Moreover, Plaintiffs do not identify any publicly filed document wherein American

Motels, LLC states it does business in Illinois through a d/b/a entity. Furthermore, Plaintiffs fail

to provide grounds to establish that American Motels, LLC did business in Illinois to the extent

that permits exercising personal jurisdiction over it.

       These same deficiencies highlight the point that any action against American Motels,

LLC properly lies with the U.S. District Court, Western District of Missouri, Western Division.

None of Plaintiff’s jurisdictional and venue allegations specify any facts to aid the unsupported

conclusions that American Motels, LLC either operated in Illinois or is directly involved in any

substantial events in the Central District of Illinois allegedly giving rise to the Plaintiffs’ wage

and hour or retaliation claims. [ECF #16, ¶¶31-48].        Rather, Plaintiffs rely on a series of

unsupported conclusions that rely on many non-specific allegations, often made against an

unnamed defendant, for their claims that personal jurisdiction over American Motels, LLC exists

and that venue is proper. [ECF #16, ¶¶ 42-44, 63, 65-67, 69, 186, 192-193, 197, 211, 226-227,

236, 239, 254].



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       The same series of overly generalized and vague allegations fall far short of pleading a

plausible theory of joint employment of Plaintiffs by American Motels, LLC and other hazily

referenced defendants, none of whom are detailed as exercising any significant control over the

terms and conditions of the employment of Plaintiffs. The pled conclusions of joint employment

by Brasher and Orencia do not provide any details that plausibly suggest that American Motels,

LLC employed Illinois residents, paid Illinois residents, or held or exercised significant control

over the daily terms and conditions of the employment of Brasher, Orencia, or any other Illinois

residents. Therefore, the pleadings alternatively support a transfer of venue if the Court denies

the Motions to Dismiss based on lack of personal jurisdiction and improper venue made under

FRCP 12(b)(2) and 12 (b)(3).

       However, if the Court denies the jurisdictional and venue objections of American Motels,

LLC, the insufficient allegations of joint employment, work hours, instrumentality of commerce

and retaliation also compel dismissing the SCA under FRCP 12(b)(6). Even to the extent

Plaintiff Lebow, a Missouri resident working in Missouri, asserts that he has pled a sufficient

cause of action against American Motels, LLC, his allegations only underscore that American

Motels, LLC is subject to personal jurisdiction in the appropriate federal court in Missouri.

Therefore, a dismissal under FRCP 12(b)(6), or ruling requiring a more definite statement from

Plaintiffs under FRCP 12(e), remain appropriate remedies to either dismiss the SAC or to cure its

deficiencies.

II.    Plaintiffs Fail to Establish Personal Jurisdiction Over American Motels, LLC

       Plaintiffs bear the burden of identifying the basis for this court to exercise personal

jurisdiction over American Motels LLC. Kipp v. Ski Enterprise Corp. of Wisconsin, 783 F. 3rd

695, 697 (7th Cir. 2015); Purdue Research Found. v. Sanoti-Synthelabo, S.A., 338 F. 3rd 773, 782

(7th Cir. 2003). The Court may consider matters outside the pleadings within the context of a

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FRCP 12(b)(2) motion. Purdue Research Found., 338 F.3d at 782. Nevertheless, the facts

Plaintiffs allege do not make out a prima facie case of general personal jurisdiction. Kipp, 783 F.

3rd at 699. American Motels, LLC is not “essentially at home” in the forum state of Illinois nor

have Plaintiffs alleged any facts that depict American Motels, LLC as purposefully availing itself

of the privilege of doing business in Illinois, or that show that it conducted activities within

Illinois that generated Plaintiff’s alleged injuries. Zimmerman v. JWCF, LP, No. 10-cv-7426,

2011 U.S. Dist. LEXIS 110276, at *32 (N.D. Ill. Sept. 28, 2011)(“In this case, however, there is

simply no evidence from which the Court could conclude that JWCF had any involvement with,

let alone exercised “an unusually high degree of” control over, SMC LLC’s pay policies at issue

in this case.”).

        Exercising personal jurisdiction over American Motels, LLC is inconsistent with

traditional notions of fair play and substantial justice. Felland v. Clifton, 682 F. 3rd 665, 673 (7th

Cir. 2012). Here, Plaintiffs do not even plead any sporadic phone or email contacts found

insufficient in other cases to establish specific personal jurisdiction over a defendant. Advanced

Tactical Ordinance Sys., LLC v. Real Action Paintball, Inc., 751 F.3d 796, 803 (7th Cir.

2014)(“The fact that [defendant] maintains an email list to allow it to shower past customers and

other subscribers with company-related emails does not show a relation between the company

and Indiana. Such a relation would be entirely fortuitous, depending wholly on activities out of

the defendant’s control.”). American Motels, LLC is a Missouri limited liability company that

was created on February 23, 2015, when it filed its Article of Organization with the Missouri

Secretary of State.     (Group Ex. 2, Articles of Organization; Certificate of Organization;

Statement of Change of Registered Agent).             Indeed, the uncontested evidence shows that

American Motels, LLC does business in Missouri, not in Illinois (Ex. 2) (Ex. 3, Declaration of



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Manager). While Plaintiffs proclaim in an unnumbered header that American Motels, LLC is

interconnected with other defendants, not one allegation identifies any overlapping managers or

owners, much less any public filing by American Motels, LLC that states an intent to do business

in Illinois, (Ex. 1); nor do Plaintiffs allege how the Missouri operations of American Motels,

LLC supposedly impacted any employment action occurring in Illinois. [ECF #16, ¶¶42-69]. In

this case, there is not even a single pled connection among any of the Plaintiffs, American

Motels, LLC and Illinois that would prove sufficient to establish personal jurisdiction over

American Motels, LLC. Advanced Tactical Ordinance Sys., LLC, 751 F.3d at 802. (“The

Seventh Circuit has made clear that ‘the plaintiff cannot be the only link between the defendant

and the forum.’”)(quoting Walden v. Fiore, 134 S.Ct. 1115, 1122 (2014)). In this case, personal

jurisdiction is non-existent over American Motels, LLC and compels a dismissal under FRCP

12(b)(2). Finally, the subsequent challenges to the merits of the SAC do not waive the asserted

personal jurisdiction defense. H-D Michigan, LLC v. Hellenic Duty Free Shops S.A., 694 F.3d

827, 848 (7th Cir. 2012).

III.   Plaintiffs Chose The Wrong Venue in Which to Sue American Motels, LLC

       The general venue provisions apply as the Fair Labor Standards Act does not contain a

special venue provision. Bredberg v. Long, 778 F.2d 1285, 1287 (8th Cir. 1985). Plaintiffs

overlook that they have not alleged that the decisions on pay policies that they challenge were

made by American Motels, LLC in Illinois. Moreover, American Motels, LLC resides in the

greater Kansas City, Missouri area. (Group Ex. 2). The connections between the pled claims

and the geographic area where American Motels, LLC resides and operates outweighs the

unsupported and conclusory claims of a connection to the Central District of Illinois. None of

the allegations in the SAC identify a policy or practice American Motels, LLC specifically

formulated and applied in Illinois; nor are any Illinois residents identified as employees paid by

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American Motels, LLC and directed, managed or supervised on a daily basis by American

Motels, LLC. Indeed, the only specifically claimed act of American Motels, LLC paying anyone

is with respect to Plaintiff Lebow, who was paid allegedly in Missouri for services he performed

in Missouri. The pled allegations before this Court and the public records, of which the Court

may take judicial notice, support dismissing the claims pled against this defendant for improper

venue under FRCP 12(b)(3). Bredberg, 778 F.2d at 1289.

IV.    American Motels, LLC Alternative Request to Transfer Venue

       The same absence of pled actions that American Motels, LLC engaged in any activity in

Illinois, and its location of operations in Missouri, support alternatively transferring Plaintiffs'

action to the Western District of Missouri. Andrews v. A.C. Roman Assocs., Inc., 914 F.Supp.2d

230, 239-38 (N.D.N.Y. 2012); Vassallo v. Goodman Networks, Inc., Cv. No. 5:14-cv-743-DAE,

2015 U.S. Dist. LEXIS 13675, **6-14 (W.D. Tex. Feb. 5, 2015)(finding good cause to transfer

FLSA class action under 28 U.S.C. §1404(a)).

       Other than Plaintiffs Brasher and Orencia, whose current residencies remain undisclosed,

Plaintiff Lebow and the personnel associated with the management and operations of American

Motels, LLC all reside in Missouri. (ECF # 16, ¶¶35-41 & Complaint Exhibits 1 and 7) (Motion

Group Exs. 2 & 3). Thus, the majority of relevant witnesses regarding American Motels, LLC

reside in Missouri, which also favors transfer of venue. Andrews, 914 F.Supp.2d at 238-39;

Vassallo, 2015 U.S. Dist. LEXIS 13675, at **7-10. Even the pay documents that Plaintiffs

attach to the SAC and cite, when referencing movant, reflect their origination in western

Missouri.

       Plaintiffs simply do not plead that American Motels, LLC formulated any pay policies in

Illinois. In the absence of operative events that allegedly occurred in Illinois, transfer of venue is

favored. Id., see also Von Brugger v. Jani-King of Minn., Inc., Civ. No. 13-05, 2013 U.S. Dist.

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LEXIS 74548, at *8 (D. Minn. May 28, 2013)(“For the convenience of parties and witnesses, in

the interest of justice, the Court transfers this action to the Northern District of Texas.”); Dacar

v. Saybolt LP, No. 7:10-CV-12-F, 2011 U.S. Dist. LEXIS 6677, at *8 (E.D.N.C. Jan. 24,

2011)(“The court finds that transfer to a more geographically centralized forum which also is the

location of the defendants, certain identified key witnesses, and probably most of the evidence,

best serves the important private and public interest relevant to venue selection.”); Andrews, 914

F.Supp.2d at 240; Vassallo, 2015 U.S. Dist. LEXIS 13675 at **7, 13. Finally, the inconvenience

of having American Motels, LLC's witnesses participate in legal proceedings and possibly attend

trial in a jurisdiction over 300 miles away from its operations in another state, when balanced

against one of the three plaintiffs also residing in Missouri, and the current residences of Brasher

and Orencia remaining unknown, favors transfer. Andrews, 914 F.Supp.2d at 240.

V.      The SAC Fails to State Wage and Hour Or Retaliation Causes of Action against
        American Motels, LLC

        A.         The Standard for FRCP 12(b)(6) Motions

        The SAC must contain enough specific facts, that if accepted by the Court as well-pled

and true, state claims that are plausible on their face. Bell Atl. v. Twombly, 550 U.S. 544, 555-56

(2007); Indep. Trust Corp. v. Stewart Info. Servs. Corp., 665 F.3d 930, 934-35 (7th Cir. 2012);

Hallinan v. Fraternal Order of Police of Chicago Lodge No. 7, 570 F.3d 811, 820 (7th Cir.

2009); Windy City Metal Fabricators & Supply, Inc. v. CIT Tech. Fin. Servs., 536 F.3d 663, 668

(7th Cir. 2008).

        B.         Plaintiffs Fail to Plead Facts That Qualify for Standing Under the FLSA

        Plaintiffs never provide a scenario that comes close to qualifying for coverage under the

FLSA as pled in Count I. Nothing asserted in Count I traces any events that could plausibly

suggest that the localized job duties of Plaintiffs, or the local operations of the facilities where


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they worked, can be deemed as “engaged in commerce or in the production of goods for

commerce.”     29 U.S.C. §§206, 207.       To satisfy the standards imposed by the FLSA, the

Plaintiffs’ pled activities must be “so directly and vitally related to the functioning of an

instrumentality or facility of interstate commerce as to be, in practical effect, a part of it, rather

than isolated, local activity.” Mitchell v. Lubin, McGaughy & Assocs., 358 U.S. 207, 212 (1959).

Not surprisingly, the case law in this area finds that housekeeping and maintenance job duties

performed at a motel do not qualify for FLSA enterprise coverage under 29 U.S.C.

§203(s)(1)(A). Sabrino v. Med. Ctr. Visitor’s Lodge, Inc., 474 F.3d 828, 829-30 (5th Cir.

2007)(explaining that motel employee who acted as janitor, security guard, and driver of motel

guests did not qualify for FLSA enterprise coverage)(“Sabrino fails to satisfy his burden of

showing that he was engaged in interstate commerce, and he therefore is not entitled to the

FLSA’s protections based on the facts alleged.”); Davis v. Patel, No. 3:14-cv-764, 2016 U.S.

Dist. LEXIS 103303 at **25-26 (M.D.Tenn. Aug. 5, 2016)(“Furthermore, the plaintiffs have

cited to no case law establishing that a motel is an ‘instrumentality of interstate commerce’ for

purposes of the FLSA, nor have they distinguished cases cited by the defendants that

demonstrate that an employee is not covered by the FLSA by sheer dint of working at such a

business.”). None of the facts Plaintiffs allege address or satisfy the preliminary prong of

enterprise coverage under the FLSA. Compare 29 U.S.C. §203(s)(1)(A)(i), with ECF #16 at ¶43.

Dismissal of the FLSA claim pled in Count I for lack of standing or statutory coverage under the

FLSA is wholly proper under FRCP 12(b)(6)

       C.      The Allegations of Overtime Work and Joint Employment against American
               Motels, LLC are Insufficient

       The SAC also lacks allegations required to establish a claim of joint employment. No

specific acts are described as being performed by Plaintiffs Brasher and Orencia so that they


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benefited American Motels, LLC in any fashion. In addition, Plaintiffs do not detail any actual

supervisory actions that movant supposedly took against them. Plaintiffs Brasher and Orencia do

not identify any payments that they received from American Motels, LLC or job duties that were

assigned by or performed for American Motels, LLC. Even where Plaintiff Lebow references

Missouri pay documents that name American Motels, LLC, he does not identify his claimed job

duties, work schedule, or regular hours worked for American Motels, LLC. The total absence of

such allegations compel dismissing all federal and state wage law claims pled in Counts I and II

pursuant to FRCP 12(b)(6).        Pruell v. Caritas Christi, 578 F.3d 10, 13-14 (1st Cir.

2012)(explaining that overly generalized and non-specific allegations that paraphrase the statute

fail to state a cause of action under the FLSA); Vargas v. Tommy’s Redshots, Inc., No. 14-cv-

07144, 2015 U.S. Dist. LEXIS 133180, at **3-5 (N.D. Ill. Sept. 30, 2015)(“This is little more

than a bare bones recital of the elements of FLSA and IMWL claims and does not place

Defendants on notice of the allegations they must defend.”); Silver v. Townstone Fin., Inc., No.

14-cv-1938, 2015 U.S. Dist. LEXIS 32857, **3-4 (N.D. Ill. March 17, 2015)(“The complaint

here falls within the category of cases warranting dismissal given its conclusory allegations and

dearth of factual support.”)(explaining the complaint that alleged that plaintiff regularly worked

more than forty hours a week but was not paid an overtime premium for such additional hours

was found insufficient to state a claim under the FLSA); Butler v. East Lake Mgmt. Grp., Inc.,

No. 10-cv-6652, 2012 U.S. Dist. LEXIS 82752 (N.D. Ill. June 11, 2012)(explaining that

complaint where plaintiff alleged frequently working in excess of forty hours per week without

proper payment for overtime worked on call was too “bare-bones” to state a claim under the

FLSA); Robertson v. Steamgard, No. 11-cv-8571, 2012 U.S. Dist. LEXIS 51582 (N.D. Ill. April

12, 2012)(explaining that complaint wherein plaintiff stated that he regularly worked more than



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forty hours per week was insufficient to state a claim under the FLSA that could survive a

motion to dismiss). The absence of the required factual allegations of work hours and jointly

exercised control compel dismissing Counts I and II for failing to state causes of action under the

FLSA and the IMWL against American Motels, LLC.

       There are no alleged facts that even plausibly suggest that American Motels, LLC

exhibits the characteristics of exercising any purported shared control over Plaintiffs Brasher and

Orencia. There are no pled allegations that even depict American Motels, LLC as controlling or

being controlled by any of the other entity defendants. Moreover, Plaintiffs do not even propose

that American Motels, LLC held or exercised the authority to change Plaintiffs’ work hours or to

terminate them. As a result, Plaintiffs only plead the conclusion of joint employment without

any supporting facts rendering the multiple citations to 29 CFR 791.2(b) ineffective. Karr v.

Strong Detective Agency, Inc., a Div. of Kane Services, 787 F.2d 1205, 1207-08 (7th Cir. 1985).

Where a legal conclusion of joint employment lacks supporting pled facts, dismissal under FRCP

12(b)(6) is proper. Frazier v. Dallas/Fort Worth Int'l Airport Bd., No. 3:16-cv-2657-M, 2017

U.S. Dist. LEXIS 97859, at **5-6 (N.D. Tex. June 25, 2017)(dismissing amended complaint for

failing to plead adequate facts showing employment relationship between plaintiff and

contractors for joint employer theory asserted against contractors); Richardson v. Help at Home,

LLC, No. 17 CV 00060, 2017 U.S. Dist. LEXIS 73334, at *8 (N.D. Ill. May 15, 2017)(“Besides

the bare allegation that she ‘was an employee of Defendants,’ [1] ¶5, her complaint is devoid of

any allegations to support a theory of joint liability as to Help At Home.”). Without any facts

needed to sustain the theory of joint employment, the FLSA and Illinois Minimum Wage law

claims pled in Counts I and II fail to state a cause of action. The same analysis that identifies the

FLSA pleading deficiencies applies to claims made under Illinois wage and hour claims against



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American Motels, LLC. Driver v. AppleIllinois, LLC, 917 F.Supp.2d 793, 799 (N.D. Ill. 2013);

Haynes v. Tru-Green Corp., 154 Ill.App.3d 967, 507 N.E.2d 945, 951 (4th Dist. 1987).

        D.      The Retaliation Claims Pled in Counts III through V Rely on Insufficient
                Allegations of Fact Regarding American Motels, LLC

        The same pleading defects that afflict the wage and hour claims appear again in the pled

retaliation claims. Nowhere in Counts III through V is there even a single reference to a

communication or an event that places a Plaintiff on one side and American Motels, LLC on the

other side. Nor do Plaintiffs identify any personnel of American Motels, LLC as persons to

whom they voiced their claimed lack of pay complaints or as persons who took adverse

employment action against them in response to their alleged pay related complaints. Indeed, not

one allegation points to American Motels, LLC as either having knowledge of the Plaintiffs' pay-

related complaints, or as possessing or exercising supervisory authority over Plaintiffs so as to

adversely affect their employment in any way. The absence of such mandatory core allegations

result in Plaintiffs not pleading any facts needed to show a causal connection between any

alleged protected activity and any adverse employment action.            Kasten v. Saint Gobain

Performance Plastics Corp., 703 F.3d 966, 972 (7th Cir. 2012); Buie v. Quad/Graphics, Inc.,

366 F.3d 496, 503 (7th Cir. 2004) (explaining that Title VII retaliation analysis applies to FLSA

retaliation claims).

        While Plaintiffs are not required to plead a prima facie retaliation case, they must satisfy

the burden of pleading enough facts to state all the elements of their claims. Twombly, 550 U.S.

at 569-70. The absence of facts that plausibly suggest that American Motels, LLC possessed

knowledge of Plaintiffs' pay related complaints compel a dismissal of the SAC. Bernier v.

Morningstar, Inc., 495 F.3d 369, 376 (7th Cir. 2007)("an employer cannot retaliate when it is

unaware of any complaints."); Silver, 2015 U.S. Dist. LEXIS 32857 at *7 ("Even if taken as true,


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Silver's allegations of causal connection are conclusory and do not contain sufficient factual

material to raise a plausible right to relief.").

        Once again, the previously discussed dearth of facts needed to support the pled legal

conclusion of joint employment reappears in Counts III through V. The same factual vacuum

negates the ability of Plaintiffs to adequately plead knowledge on the part of American Motels,

LLC. Finally, in Count IV, Plaintiff Brasher also fails to plead adequate facts required to

establish the existence of an employment agreement or contract to pay overtime wages in order

to state a claim under the Illinois Wage Payment and Collection Act. Stark v. PPM Am., Inc.,

354 F.3d 666, 672 (7th Cir. 2004) (rejecting IWPCA claim for bonus pay where the employee

"has no employment contract setting out the terms of his bonus."); Silver, 2015 U.S. Dist. LEXIS

32857 at **8-9; Palmer v. Great Dane Trailers, No. 05 C 1410, 2005 U.S. Dist. LEXIS 12747

(N.D. Ill. June 28, 2005) ("Because GDP did not breach any contractual obligation to pay

overtime, no IWPCA claim exists."). Counts III through V should be dismissed under FRCP

12(b)(6).

VI.     American Motels, LLC’s Alternative Motion for More Definite Statement

        If the Court denies all other motions to dismiss or transfer made by American Motels

LLC, an alternative request for a more definite statement is made under FRCP 12(e). Many

allegations pled in the SAC do not name the defendant party who supposedly took many actions

involving the Plaintiffs. [ECF #16 at paras. 65-67, 81-82, 85, 95, 128-129, 139-140, 146, 186,

192, 193, Prayer for Relief in Count II, 197, 211, 226-227, 236, 239; Prayer for Relief in Count

III, 254; Prayers for Relief in Counts IV and V]. American Motels, LLC should not have to

guess which defendant party Plaintiffs may be referring to when they fail or refuse to clarify

which defendant they are claiming took action with respect to the terms and conditions of their

employment. Therefore, if the Court denies all the above motions, the cited paragraphs clearly

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create a pleading that is "so vague or ambiguous that the opposing party cannot respond, even

with a simple denial, in good faith or without prejudice to himself." 5A Charles A. Wright and

Arthur R. Miller, Federal Practice & Procedure, Civil 2d, sec. 1376 (1990); see also Lopez v.

Ortiz, 11 F.Supp.3d 46, 49 (D.P.R. 2014) (discussing the absence from the complaint of

allegations that clarify capacity of sued defendants).

       WHEREFORE, Defendant American Motels LLC requests that the Court grant it the

relief sought in its combined and alternative motions to dismiss, transfer venue, or for a more

definite statement.

                                                   Respectfully submitted,


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                            CERTIFICATE OF SERVICE

       I hereby certify that on July 24, 2017, I electronically filed this DEFENDANT
AMERICAN MOTELS LLC'S MEMORANDUM IN SUPPORT OF FRCP 12(B)(2)
MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION, FRCP 12(B)(3)
MOTION TO DISMISS FOR IMPROPER VENUE AND ALTERNATIVE MOTION TO
TRANSFER VENUE UNDER 28 U.S.C. 1404(A), FRCP 12(B)(6) MOTION TO DISMISS
FOR FAILURE TO STATE A CLAIM, AND FRCP 12(E) MOTION FOR A MORE
DEFINITE STATEMENT with the Clerk of the Court using the CM/ECF system, which will
send notification of such filing to the following:

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